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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   RAMONE ANDERSON,                           Case No. 5:21-cv-00845-JGB-MAA
  12                       Petitioner,            ORDER ACCEPTING REPORT
  13          v.                                  AND RECOMMENDATION OF
                                                  UNITED STATES MAGISTRATE
  14   FELIPE MARTINEZ,                           JUDGE
  15                       Respondent.
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other
  18   records on file herein, and the Report and Recommendation of the United States
  19   Magistrate Judge.
  20         The time for filing objections has expired, and no objections have been made.
  21         IT THEREFORE IS ORDERED that (1) the Report and Recommendation of
  22   the Magistrate Judge is accepted; and (2) Judgment shall be entered denying the
  23   Petition and dismissing this action without prejudice.
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  25   DATED: November  2021
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  27                                          JESU
                                                 US G. BERNAL
                                              JESUS
                                              UNIITED STATES DISTRICT JUDGE
                                              UNITED
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